






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-75,951




EX PARTE RAYMOND GABRIEL ADAME, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. F98-02753-JS IN THE 282ND DISTRICT COURT
FROM DALLAS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of possession of a
controlled substance with intent to deliver and sentenced to fifteen years’ imprisonment. The Fifth
Court of Appeals affirmed his conviction. Adame v. State, No. 05-99-00997-CR (Tex. App.–Dallas,
Dec. 11, 2000, no pet.).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his appellate counsel rendered ineffective assistance because counsel
failed to advise him of his right to file a petition for discretionary review pro se. The trial court has
entered findings of fact and conclusions of law that Applicant was denied his right to file a pro se
petition for discretionary review. The trial court recommends that relief be granted.  Ex parte Wilson,
956 S.W.2d 25 (Tex. Crim. App. 1997). We find, therefore, that Applicant is entitled to the
opportunity to file an out-of-time petition for discretionary review of the judgment of the Fifth Court
of Appeals in Cause No. 05-99-00997-CR that affirmed his conviction in Case No. F98-02753-JS
from the 282nd Judicial District Court of Dallas County. Applicant shall file his petition for
discretionary review with the Fifth Court of Appeals within 30 days of the date on which this Court’s
mandate issues. Applicant’s remaining claims are dismissed. Ex parte Torres, 943 S.W.2d 469 (Tex.
Crim. App. 1997). 
&nbsp;
Delivered: June 25, 2008
Do not publish


